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§ Darrin Neuer
Vs. .. ' Case No. 2017-07617 Civil Term
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Thomas J. Arthur
Billman Trucking, lnc.
CASE TRANSFERRED TO "

Middle District Court of Pennsylvania
Civil Division Federal Building
228 Walnut St., PO Box 983
Harrisburg, PA 17108

Pleas,e acknowledge receipt of this case by signing and dating this document
Please send this back to: '

PRéiii:IONOTARY OFFICE
CUMBERLAND COUNTY C0URTH0USE
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P|ease read the instructions located at https://Www.ccpa.net/3805/Searchable-Civi|-Records before proceeding.

 

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Defend,§n,t§ ,1

Case #2017-07617

 

Ca$e Number 2017_07617

 

Commencement Date

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Case Type V\§/§RIT§QF SU|\/|l\/|ONS

 

PFA Number

 

 

 

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Caption Defendant ARTHLJR, THOMAS J

 

 

 

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Judgment indicator

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Off'lce on 08/30/2017 4:58 PM, Fee

 

 

 

CaSe 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 4 of 32

YOST & TRETTA, LLP .
BY:` JOHN M. CAMPBELL ATTORNEYS FOR: De f endants , Thomas J .

MKHAHJKKHUMBCHAK Arthur and Billman Trucking, Inc.

IDENTIFICATION NO. 53349/85889
Two Pcnn Center Plaza

Suite 610

1500 John F. Kennedy Boulevard
Philadelphia, PA 19102
(215)972-6600

DARRIN NEUER : COURT OF` COMMON PLEAS
° CUMBERLAND COUNTY
V.
CI'V'IL ACTION
THOMAS J. ARTHUR and .
BILLMAN TRUCKING, INC. : NO. 2017-07617

NOTICE OF REMOVAL

TO: Prothonotary cf the»

Court of Common Pleas of

Cumberland County

Pursuant to 28 U.S.C. §1446(d), defendants, Thomas J. Arthur
and Billman Trucking, Inc., by and through their attorneys, Yost &
Tretta, LLP, hereby file a copy of the Notice of Removal filed by

the defendants in the United States District Court for the Middle

District Of Pennsylvania on August 29, 2017.

Respectfully submitted,

YOST & TRETTA, LLP

W Q,,M

ohn M. Campbell

Michael F. Kernoschak
Attorneys for Defendants,
Thomas J. Arthur and Billman
Trucking, Inc.

   

BY:

 

YOST 81 TRETTA, LLP ' TWO PENN CENTER PLAZA ~ SUlTE 610 ' 1500 JOHN F. KENNEDY BOULEVARD ' PH|LADELF‘H|A, PA 19102

 

 

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Case# 2017-07617- Received at Cumberland County Prothi)notary Office on 08/30/2017 4

 

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Case 1:17-cv-01547-CCC Document 1-1 Filed 08/29/17 Page 1 of 1
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Darrin Neuer Thomas J. Arthur and Bi||man Trucktng. |nc.
(b) County ofResideiice ofFirst Listed P|aintiff` _L_OS Angeles Cou_nty _ _ County of Residencc 01' First Listed Defendant __Ripley (1ndiana)_
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Thomas A. Arc er; Mette. Evans anc(Woodside John M. Campbellll\/|ichae| F. Kernoschak, Yost & Tretta, LLP
3401 Nor'th Front St., P.O. Box 5950 Two Penn Center Plaza, Ste. 610, 1500 JFK Blvd.
Harrt`sburg, PA 17110:717-231-5235 Philade|phia, PA 19101. 215-972-6600
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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi`ice on 08/30/2017 4:58 PM, Fee

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 6 of 32

Case 1:17-cv-01547-CCC Document 1 Filed 08/29/17 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DARRIN NEUER
v.

THOMAS J. ARTHUR and .
BILLMAN TRUCKING, INC. : NO.

NOTICE OF REMDVLL
TO: The United States District Court

for the Middle District of Pennsylvania

Defendants, Thomas J. Arthur and Billman Truckinq, Inc., by and
through their attorneys, Yost & Tretta, LLP, hereby file the within
Notice of Removal of the above~captioned matter from the Cumberland
County Court of Common Pleas in which it is now pending, to the
United States District Court for the Middle District of
Pennsylvania, and in support thereoE, aver as follows:

1. This action was commenced by Writ of Summons filed in the
Cumberland County Court of Common Pleas, No. 2017-07617. A copy of
the Writ of Summons is attached hereto, made a part hereof, and
marked as Exhibit “A.”

2. On July 31, 2017, plaintiff's Writ of Summons was served
upon defendant, Billman Truckinq, Inc., via First Class mail and
certified mail, return receipt. A copy of plaintiff’s Affidavit of
Service is attached hereto, made a part hereof, and marked as

Exhibit “B.”

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi'ice on 08/30/2017 4:58 PM, Fee

 

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 7 of 32

Case 1:17-cv-01547-CCC Document 1 Filed 08/29/17 Page 2 of 3

3. On August 4, 2017, plaintiff’s Writ of Summons was served
upon defendant, Thomas J. Arthur, via First Class mail and certified
mail, return receipt. §e§ Exhibit “B.”

4. At all times relevant to this action, plaintiff was an
adult individual and citizen of the state of California, residing at
250 North 1St Street, Unit 3ll, Burbank, CA 91502. Qee Exhibit “A.”

5. At all times relevant to this action, defendant, Thomas J.
Arthur, was an adult individual and a citizen of the state of
Indiana, residing at 3663 West Monroe Street, Napoleon, Indiana.

§e§ Exhibit “A.”

6. At all times relevant to this action, defendant, Billman
Trucking, inc., was an Indiana corporation with its principal place
of business located at 9405 East State Road 48, New Point, IN 47263.

See Exhibit “A.”

7. Thus, complete diversity of citizenship exists among the
parties.
8. Upon information and belief, the value of the matter in

controversy exceeds the amount of $75,000.00, exclusive of interest
and costs.

9. Accordingly, because diversity of citizenship exists and
the amount in controversy exceeds $75,000.00 exclusive of interest
and costs, original jurisdiction exists in the United States
District Court for the Middle District of Pennsylvania pursuant to

28 U.S.C. Sec. 1332.

 

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Office on 08/30/2017 4:58 PM, Fee

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 8 0'132

Case 1:17-cv-01547-CCC Document 1 Filed 08/29/17 Page 3 of 3

lO. Copies of all process, pleadings and Orders which have
been received by the defendants are filed herewith.

ll. This Notice is timely, having been filed within thirty
(30) days of service upon the defendant, Billman Trucking, Inc.,
with a copy of the Writ of Summons filed by the plaintiff by which
this action was commenced.

WHEREFORE, notice is given that this action is removed from the
Cumberland County Court of Common Pleas to the United States

District Court for the Middle District of Pennsylvania.

Respectfully submitted,

T & TRETTA LLP

j M[A,M,/i//L/

.otn M. Campbell (JC1088)
?ylorney for Defendants,

~‘homas J. Arthur and Billman
Trucking, Inc.

Two Penn Center Plaza, Suite 610
1500 John F. Kennedy Boulevard
Philadelphia, PA 19102

(215) 972-6600

    
 

 

 

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi"lce on 08/30/2017 4:58 PM, Fee

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 9 of 32

Case 1:17-cv-01547-CCC Document1-3 Filed 08/29/17 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THERESA WALLS
V.

ERIC CHEVALIER, ATLAS LEASING
COMPANY and TAK TRUCKING INC. : NO.

CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy
of the within Notice of Removal was served upon counsel via First

Class Mail on August 30, 2017:

Thomas A. Archer, Esquire
Mette, Evans and Woodside
3401 North Front Street
P.O. Box 5950

Harrisburg, PA 17110

Dated: dr ~7“7//7 T & TRETTA LLP
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BY: 24 /1/% /,/¢zy///M

Jo ivi. campbei'l (Jcloes)
?§;Z:ney for Defendants,

' omas J. Arthur and Billman
Trucking, Inc.

Two Penn Center Plaza, Suite 610
1500 John F. Kennedy Boulevard

Philadelphia, PA 19102
(215) 972-6600

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YOST & TRETTA, LLP ° TWO PENN CENTER PLAZA ° SU|TE 610 ' 1500 JOHN F. KENNEDY BOULEVAHD ¢ PH|LADELPH|A. PA 19102

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi'ice on 08/30/2017 4:58 PM, Fee

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 10 of 32

Case 1:17-cv-01547-CCC Document 1-2 Filed 08/29/17 Page 1 of 12

 

EXH|BIT “A”

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi'lce on 08/30/2017 4

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 11 of 32

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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8/29/2017 Case 1:17-cv-01547-CCC Document1-2 Filed 08/29/17 Page 3 of 12

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofl`lce on 08/30/2017 4:58 PM, Fee

 

Mette, Evzns and Woodside
By: Thoi`nas A. Archer, Esquire
3401 North Front Srreet

PO Box 5950

llarrisburg, PA 171 10

(717) 232-5000
taarchcr@mette.com

DARRIN' N`i§Ui?:i`z,' _ " `_`

250 North 1" Screec, Unii 311

Burbanl<, CA 91502,
Plaintiff,

V

THOMAS J. ARTHUR,
3663 Monroe Street
Napoleon, [N 47034,

and

BILLMAN TRUCKING, INC.,
9045 East State Road 48

New Poii\t, lN 47263,

Defendant$.

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. [N THE COURT OF COMMON PLEAS ,
CUMBERLAND COUNTY, PENNSYLVAN|A

Doci<izr No.; ZDl_:l; _~ CHUZEL le ‘1`1 l

: ClVlL ACTION - LAW AND EQUITY

§ runv TiuAL i)F.iviANDED

PRAECIPE FOR WR|'I` OF SllMM()NS

TO THE PROTHONOTARY OF SAID COURT:

Plcase issue Writ of Summons in the above-captioned action.

X_Wn`t ofSummons shall be issued and forwarded to Attorney Thomas A. Archer

Mette, Evans and Wondside
3401 North Front Street
PO Box 5950

Harrisburg, PA 17110

(717) 232-5000

/4/~7

Signature of Attorney
Supreme Court lD No. 73293

Date: July 14, 2017

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi'lce on 08/30/2017 4:58 PM, Fee

CaSe 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 13 of 32

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me 011 sUMMoNs
ro THE ABovE-NAMED DEFENDANTS;

YOU ARE NOTIFIED THAT THE ABOVE-NAMED PLAINTIFF HAS
COMMENCED AN ACTION AGAI`NST YOU.

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Prothonotary

uaw 1311_\1}.;;;1:.\5: by QM_ALM:A.I: .

Deputy

( ) Check here if reverse is issued for additional information

 

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CaSe 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 14 of 32

Case 1:17~cv-01547-CCC Document1-2 Filed 08/29/17 Page 5 of 12

 

EXH|B|T “B”

Case# 2017-07617- Received at Cumberland County Prothonotary Ofi"lce on 08/30/2017 4:58 PM, Fee = $0.00

 

Case# 2017-07617- Received at Cumberland County Prothonotary Ofl`lce on 08/30/2017 4:58 PM, Fee = $0.00

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 15 of 32

 

 

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: _ _ " ' "` " ' l
M'ette, Evans and Woodside l
By: Thomas A, Archer, Esquire J' l | ‘ l
3401 North Front Street 2017076170001F#1191osar¢¢:sooo '
PO Box 5950 AFFlDAvlr OF SERV\CE l
Harrisburg, PA 171 10 l chr 2151195 mmnm;ss;\z»im

D:ivru D Buul| Cu\mly Pluthnnatzry

(717) 232-5000 ~ _ .
taarcher@mette.com

 

 

 

DARRlN NEUER, ' lN THE COURT OF COMMON PLEAS

: CUMBERLAND COUNTY, PENNSYLVANIA

Plaintiff,

. DOCKET NO,: 2017-07617-Civil
v .
. CIVIL ACTlON - LAW AND EQUlTY
THOMAS J. ARTHUR, and BILLMAN
TRUCK[NG, INC., :
. IURY TRIAL DEMANDED
Def`endants.

AFFIDAVIT OF SERVICE

I, Thomas A. Archer, Esquire, attorney for Plaintiff, Darrin Neuer, do hereby declare as
follows:

l. l am attorney for Plaintiff and I am authorized to make this Affidavit.

2. A copy of the Writ of Sumrnons was mailed to Defendant’s, Billman Trucking,
Inc., last known address of 9045 East State Road 48, New Point, IN 47263, via first-class mail
and certified mail, return receipt requested on July 28, 2017_ The certified mail was delivered '
and signed for on _Tuly 31, 2017. A copy of the executed green card is attached hereto as Exhibit
“A_,,

3. A copy of the Writ of Summons was mailed to Defendant’s, Thomas J. Arthur,
last known address of 3663 Monroe Street, Napoleon, IN 47034, via first-class mail and certified
mail, return receipt requested on July 28, 2017. The certified mail was returned as undeliverable
on August 4, 2017.

4. An Accurint search for Defendant, Thomas J. Arthur, Was performed on August 4,

2017, which revealed a current address for Det`endant, Thomas J. Arthur, of 3663 West Monroe,

 

 

 

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Oft"ice on 08/30/2017 4:58 PM, Fee

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 16 of 32

S.S€ 1 'CV- ~ "
Napoleon, IN 47034.
5. A copy of the Writ of Summons was mailed to Defendant’s, Thomas J. Arthur,

most recent address of 3663 West Monroe, Napoleon§ IN 47034, on August 4, 2017, via first»
class mail and certified mail, return receipt requested on August 4, 2017. The certified mail was

delivered and signed for. A copy of the executed green card is attached hereto as Exhibit “B.”

Respectf`ully submitted:

METTE, EVANS AND WOODSIDE

Dated: August 15, 2017 By: Iz" ______
`l`lion{d§ A. Archer, Esquire
Attorney ID: 73293
3401 N. Front Street
Harrisburg, PA 17110
(717) 232-5000
(717) 236-1816 (t`ax)
l;_i_Lchert`[uniettg;;_com_
Attorneyfor Plar'nliff

 

Sworn zinc}ksul)scribcd l)cl"ore inc
on this 1?) _dtry-of_{’t\)_¢)yi_t~ 2017.

My commission expires (QlZ$l ilél .

 

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Notary Pubm :
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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi`lce on 08/30/2017 4:58 PM, Fee = $0.00

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 17 of 32
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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi'lce on 08/30/2017 4:58 PM, Fee = S0.00

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 18 of 32

 

 

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Case# 2017-07617- Received at Cumberland County Prothonotary Office on 08/30/2017 4:58 PM, Fee

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 19 of 32

 

Case 1:17-cv-01547-CCC Document 1-2 Flled 08/29/17 Page 10 ot 12

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 20 of 32

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Case# 2017-07617- Received at Cumberland County Prothonotary Ofi"lce on 08/30/2017 4:58 PM, Fee

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 21 of 32

 

 

Case# 2017-07617- Received at Cumberland County Prothonotary Office on 08/30/2017 4:58 PM, Fee = 50.00

Case 1:17-cv-01547-ccc DocumentT-z E¢iedo'§…zs age o

CERTIFICATE OF SERVICE

 

[ certify that I am this day serving a copy of the foregoing Afiidavit of Service upon the
person(s) and in the manner indicated below, which service satisfies the requirements of the
Pennsylvania Rules of Civil Procedure, by depositing a copy of same in the United States Mail at

Harrisburg, Pennsylvania, with first-class postage, prepaid, as follows:

Biilman Trucking, lnc.
9045 East State Road 48
New Point, IN 47263
Pro Se Defendanl

Thomas J. Arthur
3663 West Monroe
Napoleon, 1N 47034

Pro Se Defzndant

  

_W@ faa®_ _. t

ic ‘sica'R. Porter, 1-’:ix'alegnl to_Thomas A.
. rchcr, Esquire

Date: August 18, 2017

 

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Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 22 of 32

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Mette, Evans and Woodside 1 2017-07617-0000 F#118680(] Feei$115.75
_ n an or summons
By: Thomas A. Archer, Esquire 1

 

 

 

3401 North Front Street cht 2017-112»01618 7/27/201710;23;02AM gas iv ii

David D. Buel|, County Prothono‘lary

PO Box 5950
Harrisburg, PA 171 10
(717) 232-5000
taarcher@mette.com

 

DARRIN NEUER, : IN THE COURT OF COMMON PLEAS
250 NOI'th lst Stree't, Uni't 311 1 CUMBERLAND COUNTY, PENNSYLVANIA
Burbank, CA 91502, '

Piainafr,

§ DOCKET NO.= ZUHNQE C_`i i `1 l

V. .
: CIVIL ACTION - LAW AND EQUITY

THOMAS J. ARTHUR,

3663 Monroe Street :
Napoleon, lN 47034, : JURY TRIAL DEMANDED

and

BILLMAN TRUCKING, INC.,
9045 East State Road 48
New Point, IN 47263,

Defendants.

 

PRAECIPE FOR WRIT OF SUMMONS
TO THE PROTHONOTARY OF SAID COURT:
Please issue Writ of Summons in the above-captioned action.

X__Writ of Surnmons shall be issued and forwarded to Attorney Thomas A. Archer

Mette, Evans and Woodside
3401 North Front street %
Po Box 5950 /

Harrisburg, PA 17110 Signature of Attorney
(717) 232-5000

 

Supreme Court ID No. 73293

Date:Ju1y14, 2017

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 23 of 32

WRIT OF SUMMONS
TO THE ABOVE-NAMED DEFENDANTS:

YOU ARE NOTIFIED THAT THE ABOVE-NAMED PLAINTIFF HAS
COMMENCED AN ACTION AGAINST YOU.

Dcm(l D BM

Prothonotary

Date: \:111\\}2_:1*,7;2-@\:}' by Q/,?[‘@( /\/l Q/VV\,!/

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( ) Check here if reverse is issued for additional information

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‘ Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 24 of 32

 

 

T he information collected on this form is used solely for court administration purposes T his form does not
supplement or replace the filing and service of pleadings or other papers as required by law or rules of court.

 

Commencement of Action:
Complaint
Transfer from Another Jurisdiction

 

§ Writ Of Summons

 

Petition

Declaration of Taking

 

Lead Plaintift’s Name:
Darrin Neuer

Lead Defendant’s Name:
Thomas J. Arthur, et. a|.

 

Are money damages requested? Yes No

Dollar Amount Requested:
(check one)

Within arbitration limits
-outside arbitration limits

 

 

Is this a Class Action Suit?

Yes

-No

Is this an MD.IAppeal?

Yes No

 

 

Name of Plaintiff/Appellant’s Attorney: Thomas A- Archer, ESqUiF€
m Check here if you have no attorney (are a Self-Represented [Pro Se] Litigant)

 

TORT (do not include Mass Tort)
m Intentional
Malicious Prosecution
Motor Vehicle
Nuisance
m Premises Liability
Product Liability (does not include
mass'tort)
Slander/Libel/ Defamation
§ Other:

 

 

   

 

 

MASS TORT
Asbestos
Tobacco
Toxic Tort - DES
Toxic Tort - lmplant
E Toxic Waste
Other:

 

 

 

 

 

»',
CONTRACT (do not include Judgments)

Buyer Plaimiff
Debt Collection: Credit Card
Debt Collection: Other

wl Employment Dispute:
Discrimination
Employment Dispute: Other

CIVIL APPEALS

    

Administrative Agencies
Board of Assessment

" ' Board of Elections
Dept. of Transportation
Statutory Appeal: Other

 

 

 

Zoning Board

 

 

 

 

 

 

PROFESSIONAL LIABLITY
Dental
m Legal
Medical
Other Professional:

 

 

 

 

Other:
§ Other: `
REAL PROPERTY MISCELLANEOUS _ ,
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Eminent Domain/Condemnation
Ground Rent

Landlord/Tenant Dispute

Mortgage Foreclosure: Commercial
Partition

Quiet Title

Other:

 

 

 

Declaratory Judgment

Mandamus

Non-Domestic Relations
Restraining Order

Ei Quo Warranto

Replevin

Other:

 

 

 

 

 

 

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Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 25 of 32

 

 

 

f - i.
Mette, Evans and Woodside `
By: Thomas A. Archer, Esquire l .|I l l l
3401 North Front Street ` 2017-07617»0001 F#1191068 Fee:$o.uo
PO BOX 595 0 5 AFFIDAvlT oF SERVICE
Harrisburg, pA 171 10 chr. 2151795 3122/201710:55;12 AM E$D\L%
1 David D. Eue|l, County Prothonotary

(717) 232-5000
taarcher@mette.com

 

DARRIN NEUER, : IN THE COURT OF COMMON PLEAS

2 CUMBERLAND COUNTY, PENNSYLVANIA

Plaintiff, :

: DOCKET NO.: 2017-07617-Civil

v. :
: CIVIL ACTION - LAW AND EQUITY

THOMAS J. ARTHUR, and BILLMAN

TRUCKING, INC., :

: JURY TRIAL DEMANDEDl

Defendants. 2

 

AFFIDAVIT OF SERVICE

 

I, Thomas A. Archer, Esquire, attorney for Plaintiff, Darrin Neuer, do hereby declare as
follows:

1. l am attorney for Plaintiff and l am authorized to make this Affidavit.

2. A copy of the Writ of Summons was mailed to Defendant’s, Billman Trucking,
lnc., last known address of 9045 East State Road 48, New Point, lN 47263, via first-class mail
and certified mail, return receipt requested on July 28, 2017. The certified mail was delivered
and signed for on July 31, 2017. A copy of the executed green card is attached hereto as EXhibit
“A_,,

3. A copy of the Writ of Summons was mailed to Defendant’s, Thomas J. Arthur,
last known address of 3663 Monroe Street, Napoleon, IN 47034, via first-class mail and certified
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on August 4, 2017.

4. An Accurint search for Defendant, Thomas J. Arthur, was performed on August 4,

2017, which revealed a current address for Defendant, Thomas J. Arthur, of 3663 West Monroe,

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 26 of 32

Napoleon, lN 47034.

5. A copy of the Writ of Summons was mailed to Defendant’s, Thomas J. Arthur,
most recent address of 3663 West Monroe, Napoleon,' lN 47034, on August 4, 2017, via first-
class mail and certified mail, return receipt requested on August 4, 2017. The certified mail was

delivered and signed for. A copy of the executed green card is attached hereto as Exhibit “B.”

Respectfully submitted:

METTE, EVANS AND WOODSIDE

Dated: August 15, 2017 By: j)`
Thoh‘(s A. Archer, Esquire
Attorney ID: 73293
3401 N. Front Street
Harrisburg, PA 17110
(717) 232-5000
(717) 236-1816 (fax)

taarcher@mette.com
Attorney for Plainti]j”

Sworn and subscribed before me

onthis iiiih day of ¢Af\) OQ)Ulh ,2017.

drawn t@@t:>

Notary Public

My commission expires @1201 l ltd .

  
  

    
     
   

MOTAR|AL SEAL
JESS\CA R POBTEB
Notary Puhi\c
SuSQUEHANNA TWP, DAUPH!N COUNTY
My Commlss!on Expires Jun 29. 2019

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Case 1 17 cv-Ol `
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Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 28 of 32

 

   
   
     
   
 

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Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 29 of 32

CERTIFICATE OF SERVICE

 

l certify that l arn this day serving a copy of the foregoing Affidavit of Service upon the
person(s) and in the manner indicated beloW, Which service satisfies the requirements of the
Pennsylvania Rules of Civil Procedure, by depositing a copy of same in the United States Mail at

Harrisburg, Pennsylvania, With first-class postage, prepaid, as follows:

Billman Trucking, lnc.
9045 East State Road 48
NeW Point, lN 47263
Pro Se Defendant

Thomas J. Arthur
3663 West Monroe
Napoleon, IN 47034

Pro Se Defendant

Date: August 18, 2017 <Af]/Mj;®% H\/(/D

Je sica R. Porter: Paralegal to Thomas A.
rcher, Esquire

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Case# 2017-07617- Received at Cumberland County Prothonotary Office on 08/29/2017 2:18 PM, Fee = $0.00

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 30 of 32

YOST & TRETTA, LLP
BY: JoHN M. cAMPBELL ' ATToRNEYs FoR; De f endants , Thomas J.

MEHAHALKENMBCHAK Arthur and Billman Trucking, Inc.

IDENTIFICATION NO. 53349/85889
Two Penn Center Plaza

Suite 610 g

1500 John F. Kennedy Boulevard
PhHaddphw,PA 19102
(215)972-6600

DARRIN NEUER : COURT OF COMMON PLEAS
' CUMBERLAND COUNTY
V.
CIVIL ACTION

THOMAS J. ARTHUR and .
BILLMAN TRUCKING, INC. : NO. 2017-07617

NOTICE OF REMOVAL

To: Prothonotary of the

Court of Common Pleas of

Cumberland County

Pursuant to 28 U.S.C. §1446(d), defendants, Thomas J. Arthur
and Billman Trucking, Inc., by and through their attorneys, Yost &
Tretta, LLP, hereby file a copy of the Notice of Removal filed by

the defendants in the United States District Court for the Middle

District of Pennsylvania on August 30, 2017.

Respectfully Submitted,

YOST & TRETTA, LLP

BY: ld£~ WW
'n M. Campbell
'chael F. Kernoschak
Attorneys for Defendants,

Thomas J. Arthur and Billman
Trucking, Inc.

YOST & TRETTAl LLP ' TWO PENN CEN'|'ER PLAZA ' SUlTE 610 ‘ 1500 JOHN F. KENNEDY BOULEVARD ‘ PH|LADELPH|A. PA 19102

 

= $0.00

Case# 2017-07617- Received at Cumberland County Prothonotary Office on 08/29/2017 3:29 PM, Fee

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 31 of 32

YOST & TRETTA, LLP

BY: JOHN M. CAMPBELL

MICHAEL F. KERNOSCHAK
IDENTIFICATION NO. 53349/85889
Two Penn Center Plaza
Suite 610
1500 John F. Kenncdy Boulevard
Philadelphia, PA 19102
(215) 972-6600

DARRIN NEUER
y.

THOMAS J. ARTHUR and

BILLMAN TRUCKING, INC.

TO THE PROTHONOTARY:

ATTORNEYS FOR: De fendant s ,

Thomas J.

Arthur and Billman Trucking, Inc.

COURT OF COMMON PLEAS
CUMBERLAND COUNTY

CIVIL ACTION

NO. 2017-07617

ENTRY OF APPEARANCE

 

Kindly enter our appearance as attorneys for defendants,

J. Arthur and Billman Trucking,

Inc.,

YOST & TRETTA, LLP

n M. Campbell

chael F Kernoschak
Attorneys for Defendants,
Thomas J. Arthur and Billman

Trucking,

Inc.

Thomas

in the above-captioned matter.

YOST & TRETTA, LLP ' TWO PENN CENTER PLAZA ' SUITE 610 ° 1500 JOHN F. KENNEDY BOULEVARD ' PH|LADELPH|A. PA19102

 

 

 

 

Case# 2017-07617- Received at Cumberland County Prothonotary Office on 08/29/2017 3:30 PM, Fee = $0.00

 

 

Case 1:17-cv-01547-CCC Document 4 Filed 09/05/17 Page 32 of 32

YOST & TRETTA, LLP
BY: JOHN M. CAMPBELL ATToRNEYs FoR: Defendants , Thomas J.

LMUUELRKEMWBCHAK Arthur and Billman Trucking, Inc.
IDENTIFICA'[`ION NO. 53349/85889
Two Penn Center Plaza
Suhe610
1500 John F. Kennedy Boulevard
Philadelphia, PA 19102
(215)972-6600

DARRIN NEUER : COURT OF COMMON PLEAS
° CUMBERLAND COUNTY
V.
CIVIL ACTION
THOMAS J. ARTHUR and .
BILLMAN TRUCKING, INC. : NO. 2017-07617

DEMAN'D FOR JURY TRIAL

 

Defendants, Thomas J. Arthur and Billman Trucking, Inc., by and
through their attorneys, Yost & Tretta, LLP, hereby request a trial

by a jury of twelve members plus two alternates.

YOST & TRETTA, LLP

BY: /’”g. M QMBU
d§%n M. Campbell
chael F. Kernoschak
Attorneys for Defendants,

Thomas J. Arthur and Billman
Trucking, Inc.

 

YOST &TRETTA‘ LLP ° TWO PENN CENTER PLAZA ' SU|TE 610 ' 1500 JOHN F. KENNEDY BOULEVAHD * PH|LADELPH|A, PA 19102

 

 

 

